Case 3:23-cr-00055-DJH Document 36-1 Filed 01/08/24 Page 1 of 1 PagelD #: 192

5224 Nob Lane
Indianapolis, IN 46226
January 7, 2024

The Honorable David J. Hale,
Judge, U.S. District Court
for the Western District of Kentucky

Re: U.S. v. John Anthony Schmidt, Cause No. 3:23-cr-00055
Dear Judge Hale:

I was admitted to the practice of law in Indiana thirty years ago this month. Prior
to becoming an attorney, I was a chemical engineer at a pharmaceutical company.
After I finished law school, I was in-house counsel at the same company until I
elected early retirement in 2008 and hung out my own shingle. Since then, I have
practiced law as a solo attorney and in small firms.

More to the point, I have known John Schmidt since 1974. He was one of the first
people I met on the first day of our freshman year at Vanderbilt University. We
were steadfast friends for the rest of our years at Vanderbilt, including the last
three when we were roommates. During those years, I also became friends with
Kathleen Kallaher Schmidt, now an attorney and John’s wife of over 30 years. John

and I have communicated sporadically over the years, less frequently than I would
have liked.

I read the character letter from John’s counselor, Claude Drouet, LCSW, who wrote,
“I understand this appears somewhat confounding, but I see John as a profoundly
moral man whose own actions perplexed him.” That rings true. John was a
profoundly moral young man when | met him almost 50 years ago, and I believe
that has never changed. I do not know what led him to commit the crimes to which
he has pled guilty, but it does not astonish me that, having done so, he agonized
over them to the point of depression.

John exemplifies something my wife and law partner who practices criminal
defense often says: “People are more than the worst thing they’ve ever done.”

I ask the Court to afford John as much leniency as it can in deciding his sentence.
Very truly yours,

Michael Ray Smith
